
PER CURIAM.
This is an appeal from a non-final order entered by the Circuit Court of Dade County, denying appellants’ motion to dismiss for lack of jurisdiction over the person. We find error and reverse.
Appellee’s having failed to meet its burden of proving facts sufficient to establish in personam jurisdiction over appellant, a foreign corporation, the trial court- erred in denying the appellee’s motion to dismiss. See Harlo Products Corp. v. J. I. Case Company, 360 So.2d 1328 (Fla. 1st DCA 1978) and Hyco Manufacturing Company v. Rotex International Corporation, 355 So.2d 471 (Fla. 3d DCA 1978).
Reversed.
